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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8
     FRAN DONOVAN et al.,                                  )
 9                                                         )
                            Plaintiffs,                    )
10                                                         )        2:08-cv-01675-RCJ-RJJ
            vs.                                            )
11                                                         )
     FLAMINGO PALMS VILLAS, LLC et al.,                    )                 ORDER
12                                                         )
                            Defendants.                    )
13                                                         )

14          The present case arises out of an alleged conspiracy to defraud investors in a

15   condominium development in Las Vegas. Pending before the Court are several discovery-

16   related motions. First is a motion to expedite a ruling on a motion that has already been ruled

17   on. That motion is denied as moot.

18          Second, Defendants Stump, Storey, Callahan, and Dietrich, P.A. (“Stump”) asks the

19   Court to deem certain requests for admission to have been admitted, to compel responses within

20   seven days, and to award attorney’s fees and costs in connection with the present motion.

21   Plaintiff has not responded, though a response was due in October of 2011. The Court grants the

22   motion.

23          Third, Defendant JDI Realty, LLC asks the Court to compel Plaintiffs’ depositions and

24   for attorney’s fees and costs related to the motions, after Plaintiffs failed to appear for their

25   noticed depositions. Several Defendants have joined the motion. Plaintiff has not responded,
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 1   though a response was due in November of 2011. The Court grants the motion.

 2          Fourth, Defendants JPMorgan Chase Bank, N.A. and EMC Mortgage LLC have moved

 3   for sanctions due to Plaintiffs’ failure to participate in discovery or to comply with the Court’s

 4   orders, including the failures of Plaintiffs Fran Donovan and Craig Mayer to appear for

 5   depositions. Movants note that Plaintiffs have not filed interim status reports or provided

 6   disclosures as required by the scheduling order. Movants ask for attorney’s fees and costs

 7   related to the depositions and the present motion as sanctions and also ask that they be dismissed

 8   as defendants. Plaintiff has not responded, though a response was due in November of 2011.

 9   The Court grants the motion.

10          Fifth, Plaintiffs asks the Court to appoint a discovery referee and to extend discovery

11   until February 21, 2012. The Court will not appoint a referee but will extend discovery.

12   Plaintiffs also argue that it was improper for Defendants to notice depositions for all eighty-

13   seven Plaintiffs to appear for depositions in Las Vegas over a seventeen-day period. However,

14   Plaintiffs initiated this massive lawsuit and are subject to being deposed. Depositions of most or

15   all Plaintiffs during the same period is likely the most efficient way to complete all of these

16   depositions. Plaintiffs do not claim to have obtained protective orders before failing to appear at

17   noticed depositions. America’s Servicing Co.’s motion to extend discovery to February 21, 2012

18   is likewise granted.

19          Sixth, Plaintiffs’ counsel notes that thirty-four (34) of the eighty-seven (87) Plaintiffs

20   have refused to pay fees due him, and eleven (11) of these have ceased communicating with him

21   at all. He asks to withdraw as attorney for all thirty-four. Counsel has since withdrawn the

22   motion as to three of the thirty-four Plaintiffs. The Court grants this request.

23          Seventh, Defendant America’s Servicing Co. has asked the Court to compel depositions.

24   For reasons already given, the Court grants the motion.

25   ///


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 1                                          CONCLUSION

 2          IT IS HEREBY ORDERED that the Motion to Expedite Ruling (ECF No. 716) is

 3   DENIED as moot.

 4          IT IS FURTHER ORDERED that the Motions to Compel (ECF Nos. 733, 747) are

 5   GRANTED.

 6          IT IS FURTHER ORDERED that the Motion for Sanctions (ECF No. 755) is

 7   GRANTED.

 8          IT IS FURTHER ORDERED that the Motion to Appoint Special Master (ECF No. 773)

 9   is GRANTED in part and DENIED in part. The Court will not appoint a special master but will

10   extend discovery until February 21, 2012.

11          IT IS FURTHER ORDERED that the Motion to Extend Discovery (ECF No. 779) is

12   GRANTED. Plaintiffs will comply with Defendants’ deposition requests on or before that date.

13          IT IS FURTHER ORDERED that the Motion to Withdraw (ECF No. 784) is GRANTED

14   in part. Attorney Allen Hymen is withdrawn as counsel of record for the following thirty-one

15   Plaintiffs: Sergio Cabanas; Stephanie Cabanas; Jamie L. Castagna; Charles Corsentino; Cindy K.

16   Corsentino; Ryan Daw; Chad Epeneter; Kevin D. Forbes; Stacey T. Forbes; Leo Gillespie;

17   David Goettge; Lisa Hatton; Alan Jackson; Patricia Jackson; Henry Jennings; Heather Jennings;

18   Craig Korotko; Christine Korotko; Thomas Marr; Gale Marr; Gaurana Nanavati; Daniel A. Nell;

19   Kelly S. Nell; Matthew Phillips; Mirjam Phillips; Dani M. Potter; Mark Richards; Gary

20   Rickling; Elizabeth A. Rickling; Drew Secaffico; and Sharon H. Stola.

21          IT IS FURTHER ORDERED that the Emergency Motion to Compel Depositions (ECF

22   No. 809) is GRANTED.

23          IT IS SO ORDERED.

24   Dated this 5th day of January 2012.
                                                   _____________________________________
25                                                          ROBERT C. JONES
                                                          United States District Judge

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